Case 1:19-md-02875-RMB-SAK   Document 598    Filed 10/16/20   Page 1 of 53 PageID:
                                  12529



                   UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW JERSEY
                         CAMDEN VICINAGE

                                             MDL No. 2875
  IN RE: VALSARTAN, LOSARTAN,
  AND IRBESARTAN PRODUCTS                    Honorable Robert B. Kugler,
  LIABILITY LITIGATION                       District Court Judge

                                             Honorable Joel Schneider,
  This Document Relates to All Actions       Magistrate Judge

                                             ORAL ARGUMENT
                                             REQUESTED



           MANUFACTURER DEFENDANTS’ REPLY BRIEF IN
             SUPPORT OF THEIR MOTION TO DISMISS




                                         1
Case 1:19-md-02875-RMB-SAK                      Document 598              Filed 10/16/20           Page 2 of 53 PageID:
                                                     12530



                                           TABLE OF CONTENTS

                                                                                                                        Page

 INTRODUCTION ..................................................................................................... 1

 BACKGROUND ....................................................................................................... 3

 I.       The Opposition Fails to Excuse Plaintiffs’ Improper “Shotgun”
          Pleading ........................................................................................................... 3

 II.      The Opposition’s Request for Leave to Amend Is Improper .......................... 5

 III.     The Opposition’s Reliance on Extrinsic Facts and Materials Is
          Impermissible .................................................................................................. 5

 IV.      The Opposition Mischaracterizes Allegations in Plaintiffs’ Complaints ........ 6

 ARGUMENT ............................................................................................................. 6

 I.       Plaintiffs Fail to Meet Their Burden of Establishing Standing on
          Behalf of the ELMC and MMMC Plaintiffs ................................................... 6

          A.       The ELMC Fails to Plead an Injury Under Article III ..........................6

          B.       The MMMC Fails to Plead an Injury Under Article III ........................9

          C.       The Injuries Alleged in the ELMC and MMMC Are Not
                   Traceable to Each Defendant ..............................................................11

          D.       Plaintiffs Lack Standing to Bring State Law Claims in States
                   Where They Do Not Allege Injury......................................................12

 II.      The Opposition Fails to Overcome Preemption and Primary
          Jurisdiction ..................................................................................................... 14

          A.       Most of Plaintiffs’ Claims Are Preempted ..........................................14

                   1.        Plaintiffs’ Arguments Against Impossibility Preemption Are
                             Irrelevant ...................................................................................14

                   2.        Plaintiffs’ Arguments Against Implied Preemption Are
                             Contrary to Plaintiffs’ Own Allegations and Arguments
                             Elsewhere in the Same Opposition ...........................................15

                                                               i
Case 1:19-md-02875-RMB-SAK                    Document 598              Filed 10/16/20           Page 3 of 53 PageID:
                                                   12531



        B.       The Primary Jurisdiction Doctrine Requires Abstention from
                 Plaintiffs’ Claims .................................................................................19

 III.   The NJPLA and Other State PLAs Subsume Most of Plaintiffs’
        Claims ............................................................................................................ 21

        A.       The ELMC Claims Are Subsumed .....................................................21

        B.       The MMMC Claims Are Subsumed ...................................................23

 IV.    The Opposition Cannot Salvage All of Plaintiffs’ State Law Claims ........... 24

        A.       Defendants Do Not Seek “Piecemeal” Dismissal ...............................24

        B.       Plaintiffs Fail to Plead Breach of Warranty Claims ............................25

                 1.        Plaintiffs’ Implied Warranty Claims Fail .................................25

                           a.        The Implied Warranty Claims in the ELMC and
                                     MMMC Fail to Allege Injury or Loss of
                                     Functionality ................................................................... 25

                           b.        Plaintiffs’ Alleged Privity Exceptions Are
                                     Inapplicable..................................................................... 27

                 2.        Plaintiffs’ Express Warranty Claims Fail .................................29

                           a.        Plaintiffs Have Not Demonstrated How Any
                                     Express Warranty Became the Basis for Any
                                     Bargain ............................................................................ 29

                           b.        Plaintiffs Have Not Identified the Specific
                                     Language or Source of the Warranties ........................... 30

                 3.        Plaintiffs Have Failed to Demonstrate Pre-Suit Notice ............31

                 4.        Plaintiffs’ Magnuson-Moss Warranty Act Claims Fail ............32

        C.       Plaintiffs Fail to Plead Unjust Enrichment Claims .............................32

        D.       Plaintiffs Fail to Plead Negligence Claims .........................................33

        E.       Plaintiffs Fail to Plead Negligence Per Se Claims ..............................34


                                                             ii
Case 1:19-md-02875-RMB-SAK                      Document 598              Filed 10/16/20           Page 4 of 53 PageID:
                                                     12532



          F.       Plaintiffs Fail to Plead Fraud Claims ..................................................35

          G.       The PIMC’s And MMMC’s Failure to Warn Claims Must Be
                   Dismissed ............................................................................................35

          H.       Plaintiffs Do Not Assert a Plausible Design Defect Claim.................36

          I.       Plaintiffs’ Medical Monitoring Claims Fail ........................................37

          J.       Plaintiffs Fail to Plead Derivative Claims or Punitive Damages ........38

 V.       The Complaints Fail to State Any Claims for Relief Against FDA
          Liaisons .......................................................................................................... 38

 CONCLUSION ........................................................................................................ 40




                                                              iii
Case 1:19-md-02875-RMB-SAK                      Document 598              Filed 10/16/20           Page 5 of 53 PageID:
                                                     12533



                                        TABLE OF AUTHORITIES

 Cases

 In re 100% Grated Parmesan Cheese Mktg. and Sales Pracs. Litig.,
     393 F. Supp. 3d 745 (N.D. Ill. 2019) ..............................................................2, 29

 Am. Fed’n of State Cty. & Mun. Emps. v. Ortho-McNeil-Janssen
   Pharm., Inc., No. 08-5904, 2010 WL 891150 (E.D. Pa. Mar. 11,
   2010) ................................................................................................................... 32

 Amarin Pharma, Inc. v. ITC. Nos. 2018-1247, 2018-114 (Fed. Cir.
   Mar. 27, 2018), Corrected Brief for the United States as Amicus
   Curiae Supporting Appellee.......................................................................... 15-16

 In re Asacol Antitrust Litig., 907 F.3d 42 (1st Cir. 2018)........................................ 12

 In re Asbestos Prods. Liab. Litig. (No. VI), 822 F.3d 125 (3d Cir.
     2016) ...............................................................................................................5, 14

 Baird v. Bayer Healthcare Pharm., Inc., No. 13-77, 2013 WL
    5890253 (E.D. Ky. Oct. 31, 2013) ...................................................................... 34

 Baraka v. McGreevey, 481 F.3d 187 (3d Cir. 2007) ................................................. 6

 Baykeeper v. NL Indus., Inc., 660 F.3d 686 (3d Cir. 2011) ..................................... 21

 BBL, Inc. v. City of Angola, 809 F.3d 317 (7th Cir. 2015) ...................................... 25

 Bell v. Boehringer Ingelheim Pharm., Inc., No. 17-1153, 2018 WL
    928237 (W.D. Pa. Feb. 15, 2018) ....................................................................... 36

 In re Berg Litig., 293 F.3d 1127 (9th Cir. 2002) ..................................................... 37

 Bowman v. Ram Med., Inc., No. 10-4403, 2012 WL 1964452 (D.N.J.
   May 31, 2012) ..................................................................................................... 26

 Boyd v. Johnson & Johnson Consumer Co., Inc., No. 09-3135, 2010
   WL 2265317 (D.N.J. May 31, 2010) reconsidered on other
   grounds, 2010 WL 3024845 (D.N.J. Aug. 2, 2010) ........................................... 22

 Buckman Co. v. Plaintiffs’ Legal Comm., 531 U.S. 341 (2001)........................ 14-15


                                                              iv
Case 1:19-md-02875-RMB-SAK                       Document 598             Filed 10/16/20           Page 6 of 53 PageID:
                                                      12534



 Bus. Edge Grp., Inc. v. Champion Mortg. Co., 519 F.3d 150 (3d Cir.
   2008) ................................................................................................................... 21

 Canadian Pac. Ry. Co. v. Nat’l Steel Car Ltd., No. 02 C 8800, 2005
   WL 782698 (N.D. Ill. Apr. 6, 2005) ................................................................... 28

 In re Chocolate Confectionary Antitrust Litig., 674 F. Supp. 2d 580
     (M.D. Pa. 2009) .................................................................................................. 39

 Ciecka v. Rosen, 908 F. Supp. 2d 545 (D.N.J. 2012) .............................................. 27

 Ciopollone v. Liggett Grp., Inc., 893 F.2d 541 (3d Cir. 1990), rev’d in
    part on other grounds, 505 U.S. 504 (1992) ...................................................... 30

 Clark v. Actavis Grp. hf, 567 F. Supp. 2d 711, 715 (D.N.J. 2008).......................... 19

 Clark v. McDonald’s Corp., 213 F.R.D. 198 (D.N.J. 2003) ................................... 11

 Clements v. Sanofi-Aventis, U.S., Inc., 111 F. Supp. 3d 586 (D.N.J.
    2015) ................................................................................................................... 23

 Crouch v. Johnson & Johnson Consumer Co., Inc., No. 09-2905, 2010
   WL 1530152 (D.N.J. Apr. 15, 2010) reconsidered on other
   grounds, 2010 WL 3024692 (D.N.J. Aug. 2, 2010) ........................................... 22

 D’Addario v. Johnson & Johnson, No. 19-15627, 2020 WL 3546750
   (D.N.J. June 30, 2020) .......................................................................................... 4

 DaimlerChrylser Corp. v. Cuno, 547 U.S. 332 (2006)............................................ 13

 Danvers Motor Co. v. Ford Motor Co., 432 F.3d 286 (3d Cir. 2005)..................... 10

 Debernardis v. IQ Formulations, LLC, 942 F.3d 1076 (11th Cir.
   2019) ...............................................................................................................8, 26

 In re: Elk Cross Timbers Decking Mktg., No. 15-18, 2015 WL
     6467730 (D.N.J. Oct. 26, 2015).......................................................................... 30

 Excela Pharma Sciences, LLC v. Sandoz Inc., ---F. Supp. 3d.---, No.
    19-318, 2020 WL 5535026, at *5 (W.D.N.C. Sept. 15, 2020) .....................15, 18

 Fletcher–Harlee Corp. v. Pote Concrete Contractors, Inc., 482 F.3d
    247 (3d Cir. 2007) ................................................................................................. 5

                                                               v
Case 1:19-md-02875-RMB-SAK                       Document 598              Filed 10/16/20           Page 7 of 53 PageID:
                                                      12535



 In re Franklin Mut. Funds Fee Litig., 388 F. Supp. 2d 451 (D.N.J.
     2005) ................................................................................................................... 11

 Fried v. Sungard Recovery Servs., 925 F. Supp. 375 (E.D. Pa. 1996) .................... 10

 In re Gerber Probiotic Sales Pracs. Litig., No. 12-835, 2013 WL
     4517994 (D.N.J. Aug. 23, 2013) .......................................................................... 8

 Gov’t Emps. Ins. Co. v. Pennsauken Spine & Rehab P.C., No. 17-
   11727, 2018 WL 3727369 (D.N.J. Aug. 6, 2018) ................................................ 4

 Hammer v. Vital Pharms., Inc., No. 11-4124, 2012 WL 1018842
   (D.N.J. Mar. 26, 2012) ........................................................................................ 26

 Hoffman v. Nutraceutical Corp., No. 12-5803, 2013 WL 2650611
   (D.N.J. June 10, 2013) ........................................................................................ 26

 Hubert v. Gen. Nutrition Corp., No. 15-01391, 2017 WL 3971912
   (W.D. Pa. Sept. 8, 2017) ....................................................................................... 8

 Ironshore Specialty Ins. Co. v. Callister, Nebeker & McCullough, 15-
    677, 2016 WL 633353 (D. Utah Feb. 17, 2016) ................................................. 28

 In re Johnson & Johnson Talcum Powder Prods. Mktg., Sales Pracs.
     & Liab. Litig., 903 F.3d 278 (3d Cir. 2018) ......................................................... 9

 Jones v. Francis, No. 13-4562, 2013 WL 5603848 (D.N.J. Oct. 11,
    2013) ................................................................................................................... 38

 Kopel v. Kopel, 229 So. 3d 812 (Fla. 2017)............................................................. 32

 Kwikset Corp. v. Superior Court, 246 P.3d 877 (Cal. 2011) ..................................... 9

 Levinson v. Johnson & Johnson Consumer Cos., Inc., No. 09-3317,
    2010 WL 421091 (D.N.J. Feb. 1, 2010), reconsidered on other
    grounds, 2010 WL 3024847 (D.N.J. Aug. 2, 2010) ........................................... 22

 Lieberson v. Johnson & Johnson Consumer Cos., Inc., 865 F. Supp.
    2d 529 (D.N.J. 2011) .......................................................................................... 25

 In re Magnesium Oxide Antitrust Litig., No. 10-5943, 2011 WL
     5008090 (D.N.J. Oct. 20, 2011).......................................................................... 14

 Mann v. Brenner, 375 F. App’x 232 (3d Cir. 2010) ............................................1, 25
                                                               vi
Case 1:19-md-02875-RMB-SAK                       Document 598              Filed 10/16/20            Page 8 of 53 PageID:
                                                      12536



 In re McNeil Consumer Healthcare, 877 F. Supp. 2d 254 (E.D. Pa.
     2012) ..................................................................................................................... 6

 McVay v. Allied World Assur. Co., Inc, 16 F. Supp. 3d 1202 (D. Nev.
   2014) ................................................................................................................... 28

 In re Mercedes-Benz Emissions Litig., No. 16-881, 2019 WL 413541
     (D.N.J. Feb. 1, 2019), cert. denied, 2019 WL 2591158 (D.N.J.
     June 25, 2019), and vacated and remanded, 797 F. App’x 695 (3d
     Cir. 2020) .............................................................................................................. 8

 Mesa v. BMW of N. Am., LLC, 904 So.2d 450 (Fla. Dist. Ct. App.
   2005) ................................................................................................................... 31

 Metcalfe v. Biomet, Inc., No. 18-456, 2019 WL 192902 (D.N.J. Jan.
   15, 2019) ............................................................................................................. 29

 Mielo v. Steak N’ Shake Operations, Inc., 897 F.3d 467 (3d Cir. 2018) ................. 13

 Moffit v. Icynene, Inc., 407 F. Supp. 2d 591 (Dt. Vt. 2005) .................................... 28

 Morgan v. Dick’s Sporting Goods, Inc., 359 F. Supp. 3d 1283 (N.D.
   Ga. 2019)............................................................................................................. 28

 In re Nat’l Prescription Opiate Litig., 956 F.3d 838 (6th Cir. 2020) ..................2, 24

 Neale v. Volvo Cars of N.A., LLC, 794 F.3d 353 (3d Cir. 2015) ....................... 12-13

 Otsuka Pharm. Co. v. Torrent Pharm. Ltd., Inc., 118 F. Supp. 3d 646
    (D.N.J. 2015)....................................................................................................... 20

 Parker v. Wellman, 230 Fed. App’x. 878 (11th Cir. Apr. 18, 2007) ....................... 23

 Perona v. Volkswagen of Am., Inc., 684 N.E.2d 859 (Ill. App. Ct.
    1997) ................................................................................................................... 32

 Player v. Motiva Enters., LLC, No. 02-3216, 2006 WL 166452
    (D.N.J. Jan. 20, 2006) (Kugler, J.) ...................................................................... 10

 Ponzio v. Mercedes-Benz USA, LLC, 447 F. Supp. 3d 194 (D.N.J.
   2020) ............................................................................................................. 12-13

 Ranier v. Union Carbide Corp., 402 F.3d. 608 (6th Cir. 2005) .............................. 37

                                                               vii
Case 1:19-md-02875-RMB-SAK                      Document 598              Filed 10/16/20           Page 9 of 53 PageID:
                                                     12537



 Redwind v. W. Union, LLC, No. 18-02094, 2019 WL 3069864 (D. Or.
   June 21, 2019) ..................................................................................................... 25

 In re Reglan Litig., 142 A.3d 725 (N.J. 2016) ......................................................... 17

 Reiff v. GAF Materials Corp., No 10-1142, 2010 WL 3081789 (E.D.
    Pa. Aug. 6, 2010) ................................................................................................ 33

 Reilly v. Ceridian Corp.¸ 664 F.3d 38 (3d Cir. 2011) ............................................. 10

 Rodman v. Otsuka Am. Pharm., Inc., ---F. Supp. 3d---, 2020 WL
   2525032 (N.D. Cal. May 18, 2020) .................................................................... 34

 Rolland v. Spark Energy, LLC, No. 17-2680, 2019 WL 1903990
    (D.N.J. Apr. 29, 2019) ........................................................................................ 13

 In re Santa Fe Nat. Tobacco Co. Mktg. & Sales Pracs. Liab. Litig.,
     288 F. Supp. 3d 1087 (D.N.M. 2017) ................................................................... 2

 Santiago v. Warminster Tp., 629 F.3d 121 (3d Cir. 2010) ...................................... 39

 Sich v. Pfizer Pharm., No. 17-02828, 2017 WL 4407930 (D.N.J. Oct.
    4, 2017) ............................................................................................................... 22

 Sinclair v. Merck & Co., 948 A.2d 587 (N.J. 2008) .......................................... 22-23

 Skotak v. Tenneco Resins, Inc., 953 F.2d 909 (5th Cir. 1992)................................. 34

 Spokeo, Inc. v. Robins, 136 S. Ct. 1540 (2016) ..................................................... 7-8

 Stinson v. Twin Pines Coal, Co., No. 14-334, 2014 WL 4472605
    (M.D. Ala. Sept. 11, 2014) ................................................................................. 28

 Sun Chem. Corp. v. Fike Corp., 235 A.3d 145 (N.J. 2020) ............................... 21-22

 Theodore v. Newark Dep’t of Health & Cmty. Wellness, No. 19-
    17726, 2020 WL 1444919 (D.N.J. Mar. 25, 2020) .............................................. 4

 Thompson v. Real Est. Mortg. Network, Inc., 106 F. Supp. 3d 486
   (D.N.J. 2015)....................................................................................................... 25

 Toca v. Tutco, LLC, 430 F. Supp. 3d 1313 (S.D. Fla 2020) .................................... 27

 Traxler v. PPG Indus., 158 F. Supp. 3d 607 (N.D. Ohio 2016) .............................. 28

                                                             viii
Case 1:19-md-02875-RMB-SAK                       Document 598             Filed 10/16/20           Page 10 of 53 PageID:
                                                       12538



  Utica Mut. Ins. v. Denwat Corp., 778 F. Supp. 592, 592 (D. Conn.
     1991) ................................................................................................................... 31

  In re Volkswagen Timing Chain Prod. Liab. Litig., No. 16-2765, 2017
      WL 1902160 (D.N.J. May 8, 2017) ...................................................................... 2

  Weisblum v. Prophase Labs, Inc., 88 F. Supp. 3d 283 (S.D.N.Y. 2015) ................ 29

  Winkworth v. Spectrum Brands, Inc., No. 19-1011, 2020 WL 3574687
    (W.D. Pa. June 30, 2020) .................................................................................... 34

  Statutes
  21 U.S.C. § 321(m) .................................................................................................. 16

  21 U.S.C. § 337(a) ........................................................................................... 7-8, 14

  21 U.S.C. § 351(a)(1) ............................................................................................... 16

  21 U.S.C. § 351(b) ................................................................................................... 16

  21 U.S.C. § 351(d) ................................................................................................... 16

  21 U.S.C. § 355(j)(2)(A)(i)–(v) ............................................................................... 16

  Other Authorities

  21 C.F.R. § 207.69(b) .............................................................................................. 38

  1 Newberg on Class Actions § 2:5 (5th ed.) ............................................................ 11

  FDA, Control of Nitrosamine Impurities in Human Drugs: Guidance
    for Industry (September 2, 2020) (available at
    https://www.fda.gov/ media/141720/download) ................................................ 20

  Fed. R. Civ. P. 8 ..................................................................................................... 2, 4

  Fed. R. Civ. P. 12 ............................................................................................ passiim

  Local Rule 7.2(d) ....................................................................................................... 1




                                                                ix
Case 1:19-md-02875-RMB-SAK       Document 598      Filed 10/16/20   Page 11 of 53 PageID:
                                       12539



                                  INTRODUCTION

        Plaintiffs’ Consolidated Memorandum of Law in Opposition to Defendants’

  Motions to Dismiss (the “Opposition” or “Opp.”)1 relies upon broad

  characterizations, group allegations, and extrinsic materials in a gambit to persuade

  the Court to excuse manifest pleading defects and to postpone the culling of

  untenable claims until summary judgment.2 Plaintiffs’ position is that, because some

  Plaintiffs’ claims may be viable against some Defendants under some states’ laws,

  and all Plaintiffs’ claims are lumped together in the Complaints into single counts,

  the Court is powerless to pare down Plaintiffs’ pleadings at the dismissal stage.

        Yet the very function of a motion to dismiss is to “test[] the legal sufficiency”

  of Plaintiffs’ claims and “streamline[] litigation by dispensing with needless

  discovery and fact-finding[.]” Mann v. Brenner, 375 F. App’x 232, 239 (3d Cir.

  2010) (quoting Neitzke v. Williams, 490 U.S. 319, 326–27 (1989)). That does not

  change in the MDL context. Plaintiffs’ cases “retain their separate identities,” and

  the Court is not at liberty to “disregard the [Federal] Rules’ requirements” in



  1
    Unless otherwise defined, capitalized terms used herein have the meaning ascribed
  to them in Defendants’ opening brief in support of their motion to dismiss, and
  Defendants expressly incorporate herein that brief and all of the attached compendia.
  2
    Plaintiffs have also violated Local Rule 7.2(d) by submitting their Memorandum
  of Law in 12-point proportional font (Times New Roman) without reducing the page
  limits by 25 percent. The Court should thus disregard pages 91-108 of the
  Opposition.
Case 1:19-md-02875-RMB-SAK         Document 598      Filed 10/16/20   Page 12 of 53 PageID:
                                         12540



  assessing individual claims. In re Nat’l Prescription Opiate Litig., 956 F.3d 838,

  844–45 (6th Cir. 2020) (quoting Gelboim v. Bank of Am. Corp., 574 U.S. 405, 413

  & n.3 (2015)). Dismissing facially insufficient claims is not “piecemeal” merely

  because Plaintiffs have thrown multiple cases together into umbrella counts. The

  Court is still dismissing entire claims with respect to those Plaintiffs asserting them.3

        It is not Defendants’ obligation to “fire[]” a “silver bullet.” Opp. 5. And

  Plaintiffs cannot satisfy their pleading obligations by referring the Court generically

  to the supposed “300+ pages of painstaking detail[,]” id. 3, in their Complaints,

  much less by directing the Court repeatedly to extrinsic materials, id. 13–14, 80 n.42,

  91, 96–97. It is neither Defendants’ nor the Court’s job to sift through hundreds of

  pages of pleadings and extrinsic filings in search of the absent “short and plain

  statement” of Plaintiffs’ claims. Fed. R. Civ. P. 8. Each Plaintiff must satisfy his or

  her individual standing requirement and plead legally sufficient claims against each

  Defendant within the four corners of the pleadings. Many have not met this

  obligation.

        Dismissal of Plaintiffs’ insufficient claims at this stage is not only the right



  3
    MDL courts regularly dismiss insufficient claims by state. See, e.g., In re 100%
  Grated Parmesan Cheese Mktg. and Sales Pracs. Litig., 393 F. Supp. 3d 745, 765–
  66 (N.D. Ill. 2019) (on appeal); In re Santa Fe Nat. Tobacco Co. Mktg. & Sales
  Pracs. Liab. Litig., 288 F. Supp. 3d 1087, 1276–77 (D.N.M. 2017); In re Volkswagen
  Timing Chain Prod. Liab. Litig., No. 16-2765, 2017 WL 1902160, at *26 (D.N.J.
  May 8, 2017).

                                             2
Case 1:19-md-02875-RMB-SAK         Document 598      Filed 10/16/20    Page 13 of 53 PageID:
                                         12541



  result, it is the desirable one. This Court can spare itself and the parties countless

  wasted hours and considerable squandered resources on discovery and fact-finding

  that is not just needless, but utterly pointless in the face of legally unsustainable

  claims. Pruning the Complaints now of uninjured Plaintiffs, deficient claims, and

  superfluous Defendants will better enable the Court and the parties to devote their

  time, attention, and resources to the much narrower subset of plausible claims. Given

  a choice between focusing on potentially meritorious clams or aimlessly churning

  meritless claims, Rule 12 is clear—the Court should dismiss the bad claims.

        Defendants’ opening brief and this reply identify with specificity the Plaintiffs

  who lack standing, the Defendants against whom no wrongs are alleged, and the

  claims that are preempted, intrude on FDA’s primary jurisdiction, are subsumed by

  state product liability statutes, or fail to satisfy their requisite state elements. These

  Plaintiffs, Defendants, and claims should be dismissed.

                                     BACKGROUND
  I.    THE OPPOSITION FAILS TO EXCUSE PLAINTIFFS’ IMPROPER
        “SHOTGUN” PLEADING

        A substantial portion of Plaintiffs’ putative “Background” section is not

  background at all, but legal argument asserting that the Complaints are not “shotgun

  pleadings” because they “laboriously recount Defendants’ manufacture and sale of

  adulterated VCDs[.]” Opp. 6, 19–21. It is the very “laborious[]” character of the

  Complaints that makes them “shotgun” pleadings. Each Master Complaint recites

                                              3
Case 1:19-md-02875-RMB-SAK       Document 598      Filed 10/16/20   Page 14 of 53 PageID:
                                       12542



  400 to 450 paragraphs of prefatory allegations, followed by nine to eighteen claims,

  each of which generically incorporates by reference all of the preceding paragraphs,

  including each predecessor claim. And each claim is asserted against all Defendants.

        Plaintiffs’ Complaints are the definition of “shotgun” pleadings. In lieu of “a

  short and plain statement,” the Complaints are “sprawling and inscrutable[.]” Gov’t

  Employees Ins. Co. v. Pennsauken Spine & Rehab P.C., No. 17-11727, 2018 WL

  3727369, at *3 (D.N.J. Aug. 6, 2018) (Kugler, J.). Their incorporation of all previous

  paragraphs into each count is “a logarithmic expansion of paragraphs as each count

  incorporates previous incorporations that themselves incorporated incorporations.”

  Id. Each count “thus snowballs into a blizzard of theories, facts, allegations, and

  claims which must be shoveled away” in search of a plausible dispute. Id. Plaintiffs’

  practice “is a far cry from Rule 8(c)’s requirement of ‘short and plain statement.’”

  Id. (collecting cases). It is likewise “shotgun” pleading to lump all Defendants

  together in every count without giving “each defendant adequate notice” of the

  grounds for its alleged liability. Theodore v. Newark Dep’t of Health & Cmty.

  Wellness, No. 19-17726, 2020 WL 1444919, at *3, 5 & n.3 (D.N.J. Mar. 25, 2020)

  (collecting cases). These impermissible pleading practices by themselves are

  sufficient to require dismissal. See D’Addario v. Johnson & Johnson, No. 19-15627,

  2020 WL 3546750, at *6 (D.N.J. June 30, 2020).




                                            4
Case 1:19-md-02875-RMB-SAK         Document 598      Filed 10/16/20   Page 15 of 53 PageID:
                                         12543



  II.    THE OPPOSITION’S REQUEST FOR LEAVE TO AMEND IS IMPROPER

         Plaintiffs’ makeshift request for leave to amend, Opp. 7, fails because

  Plaintiffs did not “submit a draft amended complaint.” Fletcher–Harlee Corp. v.

  Pote Concrete Contractors, Inc., 482 F.3d 247, 252 (3d Cir. 2007).

  III.   THE OPPOSITION’S RELIANCE ON EXTRINSIC FACTS AND
         MATERIALS IS IMPERMISSIBLE

         Plaintiffs repeatedly refer to putative facts and “illustrative” extrinsic

  materials, including: (i) dozens of previously unalleged assertions about Defendant

  Zhejiang Huahai Pharmaceutical Co., Ltd., Opp. 12–19; (ii) a letter brief (ECF 296)

  and its exhibits, filed months after the Complaints, id. 13–14, 80 n.42, 91, 96–97;

  and (iii) references to materials obtained in discovery, id. 20, 62, 67, 91. That invites

  error “because ‘a court considering a motion to dismiss under Federal Rule of Civil

  Procedure 12(b)(6) may consider only the allegations contained in the pleading to

  determine its sufficiency.’” In re Asbestos Prods. Liab. Litig. (No. VI), 822 F.3d 125,

  133 (3d Cir. 2016) (quoting Santomenno ex rel. John Hancock Trust v. John

  Hancock Life Ins. Co. (U.S.A.), 768 F.3d 284, 290 (3d Cir. 2014)) (emphasis in

  original).4




  4
   The extrinsic statements and materials are set forth in the Compendium of Charts
  Referenced in the Manufacturer’s Reply Brief. (“Second Charts”) See Second Charts
  1.

                                             5
Case 1:19-md-02875-RMB-SAK         Document 598      Filed 10/16/20   Page 16 of 53 PageID:
                                         12544




  IV.   THE OPPOSITION MISCHARACTERIZES                           ALLEGATIONS         IN
        PLAINTIFFS’ COMPLAINTS

        Plaintiffs repeatedly cite allegations that fail to substantiate Plaintiffs’ bare

  assertions.5 The Court should disregard these “unsupported” statements. Baraka v.

  McGreevey, 481 F.3d 187, 211 (3d Cir. 2007) (citations omitted).

                                      ARGUMENT
  I.    PLAINTIFFS FAIL TO MEET THEIR BURDEN OF ESTABLISHING
        STANDING ON BEHALF OF THE ELMC AND MMMC PLAINTIFFS

        A.     The ELMC Fails to Plead an Injury Under Article III

        The Opposition does not dispute that the VCDs at issue provided the

  anticipated therapeutic benefit to the ELMC Plaintiffs, and does not contend

  Plaintiffs have suffered any concrete physical injury caused by the VCDs. The

  ELMC thus fails to allege Article III standing. See, e.g., In re McNeil Consumer

  Healthcare, 877 F. Supp. 2d 254, 271 (E.D. Pa. 2012) (dismissing claims for lack of

  standing where “[n]o plaintiff alleges facts that” that would show the product “was

  actually defective as to them, i.e., that it failed to perform as intended”).



  5
   See, e.g., Opp. 9 (mischaracterizing allegation of link between NDMA and cancer),
  10 (mischaracterizing allegations about ZHP), 12–13 (mischaracterizing allegations
  about manufacturing defendants); 18–19 (mischaracterizing allegations about
  manufacturing defendants), 19 (mischaracterizing allegations on manufacturer
  awareness), 67 (mischaracterizing allegations regarding indemnification
  agreements).


                                              6
Case 1:19-md-02875-RMB-SAK        Document 598     Filed 10/16/20    Page 17 of 53 PageID:
                                        12545



        Lacking any therapeutic or physical harm, the ELMC Plaintiffs instead hunt

  for an economic injury. They assert the VCDs are “worthless,” ELMC ¶ 359, and

  seek “to recoup the amounts that they paid[.]” Opp. 6. With no factual basis for this

  putative injury, Plaintiffs instead propose a legislative basis—the FDCA’s

  prohibition on the sale of adulterated drugs—as a per se proxy for the VCDs being

  “worthless.” Id. 23 (asserting adulterated VCDs are “unlawful to sell” and

  “consequently economically worthless”). Plaintiffs’ proposed standard is legally

  deficient and ignores the indisputable benefits Plaintiffs actually received from the

  VCDs.

        At the outset, Plaintiffs’ invocation of the FDCA as the basis for their Article

  III standing confirms that their claims attempt to undertake private enforcement of

  the FDCA—and are therefore preempted. See § II.A, infra. The argument is also

  self-defeating, as Congress has made clear that violations of the FDCA are not

  cognizable as private injuries. See 21 U.S.C. § 337(a). “Article III standing requires

  a concrete injury even in the context of a statutory violation,” and the judgment of

  Congress is “instructive and important” in identifying statutory violations that

  “constitute injury in fact.” Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1549 (2016).

  Here, Congress has judged that sales of allegedly adulterated drugs are not

  actionable private injuries. 21 U.S.C. § 337(a). The fear of a “possible future injury”




                                            7
Case 1:19-md-02875-RMB-SAK        Document 598     Filed 10/16/20   Page 18 of 53 PageID:
                                        12546



  from adulteration is “insufficient to satisfy” Article III. Hubert v. Gen. Nutrition

  Corp., No. 15-01391, 2017 WL 3971912, at *5 (W.D. Pa. Sept. 8, 2017).

        Plaintiffs’ reliance on Debernardis v. IQ Formulations, LLC, 942 F.3d 1076

  (11th Cir. 2019), is misplaced. Debernardis allowed for the possibility that

  allegations of adulterated supplements could “establish[] that the plaintiffs

  purchased a worthless product[,]” id. at 1087–88, but missed a critical point by

  omitting Section 337(a) of the FDCA from its analysis. The Eleventh Circuit jumped

  from FDA’s public authority to keep adulterated dietary supplements off the market

  to a private injury without considering the FDCA’s express prohibition on private

  enforcement under 21 U.S.C. § 337(a). Id. at 1080, 1085. Yet, “[a] plaintiff seeking

  to vindicate a public right embodied in a federal statute . . . must demonstrate that

  the violation of that public right has caused him a concrete, individual harm distinct

  from the general population.” Spokeo, 136 S. Ct. at 1553 (Thomas, J., concurring).

  Here, with no physical injury or loss of efficacy, Plaintiffs have shown no injury

  “particular to [them]” to support private standing. Id.

        Equally unavailing is Plaintiffs’ reliance on cases in which plaintiffs alleged

  that they paid a “premium” or an “overpayment” for products based on false and

  deceptive sales practices. See In re Gerber Probiotic Sales Pracs. Litig., No. 12-835,

  2013 WL 4517994, at *5 (D.N.J. Aug. 23, 2013); In re Mercedes-Benz Emissions

  Litig., No. 16-881, 2019 WL 413541, at *4 (D.N.J. Feb. 1, 2019), cert. denied, 2019


                                            8
Case 1:19-md-02875-RMB-SAK       Document 598      Filed 10/16/20   Page 19 of 53 PageID:
                                       12547



  WL 2591158 (D.N.J. June 25, 2019), and vacated and remanded, 797 F. App’x 695

  (3d Cir. 2020). Plaintiffs allege no facts indicating such a premium or overpayment

  here.

          In fact, Plaintiffs assert the opposite theory—that their VCDs lost 100% of

  their value. But as the Third Circuit made clear in In re Johnson & Johnson Talcum

  Powder Prods. Mktg., Sales Pracs. & Liab. Litig., 278 (3d Cir. 2018), a claim based

  on loss of value requires that Plaintiffs “failed to receive the benefit of their

  bargains[.]” Id. at 290 n.14 (distinguishing Kwikset Corp. v. Superior Court, 246

  P.3d 877 (Cal. 2011)). Plaintiffs do not allege their VCDs injured them or were any

  less effective due to the presence of nitrosamines, and thus fail to allege that their

  VCDs provided “an economic benefit worth one penny less” than what they paid.

  Id. at 288. Standing requires Plaintiffs to do more than “simply characterize [their]

  purchases as economic injuries”; such claims are “nothing more than mere

  conjecture” without a basis in fact. Id. at 281, 290–92. Plaintiffs’ “wish to be

  reimbursed for a functional product” they already used “without incident” is not “an

  economic injury within the meaning of Article III.” Id. at 293.

          B.    The MMMC Fails to Plead an Injury Under Article III

          The MMMC Plaintiffs also fail to allege a concrete injury. The MMMC’s

  allegation that exposure may give rise to future potential health consequences is

  exactly the type of “abstract or conjectural or hypothetical” injury routinely held to


                                            9
Case 1:19-md-02875-RMB-SAK         Document 598      Filed 10/16/20   Page 20 of 53 PageID:
                                         12548



  be insufficient to confer standing. Danvers Motor Co. v. Ford Motor Co., 432 F.3d

  286, 291 (3d Cir. 2005) (quoting Raines v. Byrd, 521 U.S. 811, 819 (1997)).

  Plaintiffs’ summary assertion of sufficient injury, Opp. 31, does not overcome this

  governing principle, and their authorities fall short because they require more than

  the mere potentiality of future health concerns to demonstrate injury in the medical

  monitoring context. See Reilly v. Ceridian Corp.¸ 664 F.3d 38, 45 (3d Cir. 2011)

  (requiring monies already have been expended on medical monitoring); Player v.

  Motiva Enters., LLC, No. 02-3216, 2006 WL 166452, *9–10 (D.N.J. Jan. 20, 2006)

  (Kugler, J.) (not examining standing and requiring a “significant” risk of serious

  disease); Fried v. Sungard Recovery Servs., 925 F. Supp. 375, 377 (E.D. Pa. 1996)

  (requiring physical manifestation of asymptomatic pleural thickening to support

  medical monitoring under Pennsylvania law in asbestos exposure cases).6



  6
    Plaintiffs’ response regarding personal jurisdiction underscores the need that these
  issues be determined now. Plaintiffs have no answer to the fact that they do not allege
  a jurisdictional-predicate purchase in New Jersey vis-à-vis numerous out-of-state
  defendants. Instead, they cite an inapposite decision regarding standing to assert
  claims on behalf of absent class members. Nor can they absolve their jurisdictional
  defects by merely implying personal jurisdiction existed in unspecified transferor
  courts. Even if the Court were to look at transferor court jurisdiction for those limited
  named plaintiffs and defendants to which the argument might apply (and it should
  not), it would still find alleged purchases lacking. So too with respect to those foreign
  defendants who may not be joined in litigation in the United States simply because
  a domestic affiliate may operate here. These threshold jurisdictional deficiencies are
  determinable now on the pleadings, and Defendants respectfully submit that they
  should be permitted to brief them on the merits.

                                             10
Case 1:19-md-02875-RMB-SAK        Document 598      Filed 10/16/20   Page 21 of 53 PageID:
                                        12549



        C.     The Injuries Alleged in the ELMC and MMMC Are Not
               Traceable to Each Defendant

        The Opposition duplicates the deficiencies of the ELMC and MMMC by

  lumping Defendants together and asserting all Plaintiffs’ injuries are traceable to all

  Defendants collectively. Opp. 32–39. But it is a bedrock principle of standing that

  Plaintiffs cannot maintain an action—individually or as class representatives—

  against Defendants to whom no Plaintiff’s injury has been traced. See, e.g., In re

  Franklin Mut. Funds Fee Litig., 388 F. Supp. 2d 451, 461 (D.N.J. 2005) (requiring

  that “at least one named plaintiff” must establish “injury traceable” to “each named

  defendant”); Clark v. McDonald’s Corp., 213 F.R.D. 198, 223 (D.N.J. 2003); see

  also 1 Newberg on Class Actions § 2:5 (5th ed.) (“In multidefendant class actions,

  the named plaintiffs must show that each defendant has harmed at least one of

  them.”).

        Plaintiffs have failed to trace their injuries to more than 25 manufacturer,

  wholesaler, and pharmacy Defendants. 7 See Charts 10–11. The Opposition does not

  even attempt to address this threshold pleading failure, blithely asserting instead that



  7
   Plaintiffs are incorrect to imply that this argument was made by the manufacturer
  defendants alone. See Opp. 32. As directed by the Court, all Defendants collectively
  briefed the Court across multiple issues and parties without unnecessary overlap
  among the briefs, and each defendant group incorporated and adopted arguments
  contained in the other briefs by reference. See ECF 520-3 at 2 n.4; ECF 522-1 at 3;
  ECF 523-1 at 4 & n.4. It is for this reason that Charts 10–11 list each of the
  defendants subject to dismissal on these grounds.

                                            11
Case 1:19-md-02875-RMB-SAK       Document 598      Filed 10/16/20   Page 22 of 53 PageID:
                                       12550



  such concerns are “for another day” through the inclusion of “additional plaintiffs.”

  Opp. 32 n.4. But putative class representatives “must meet Article III standing

  requirements the moment a complaint is filed.” Neale v. Volvo Cars of N.A., LLC,

  794 F.3d 353, 367 (3d Cir. 2015); see also Ponzio v. Mercedes-Benz USA, LLC, 447

  F. Supp. 3d 194, 222 (D.N.J. 2020) (same). Plaintiffs’ concession that they did not

  and cannot now meet those requirements for more than two dozen Defendants named

  in the ELMC and MMMC is dispositive and requires dismissal.

        Plaintiffs’ sole authority for their claim that it is unnecessary “for a class to

  have a representative against every defendant[,]” Opp. 32 n.4, says nothing of the

  kind. It merely recognizes that plaintiffs who “indisputably have standing to litigate

  their own claims” are not impeded from litigating “materially identical claims” as

  class representatives. In re Asacol Antitrust Litig., 907 F.3d 42, 47 (1st Cir. 2018).

  That has nothing to do with suing Defendants to whom no injury has been traced.

        Accordingly, the claims against Defendants identified in Charts 10–11 should

  be dismissed because they lack the traceability required to establish standing.

        D.     Plaintiffs Lack Standing to Bring State Law Claims in States
               Where They Do Not Allege Injury

        The Opposition contends that the ELMC and MMMC Plaintiffs can assert

  claims as putative class representatives under the laws of states and territories in

  which they do not reside and were not injured. Opp. 38–39. But Plaintiffs

  erroneously rely on precedent holding that a putative class representative is not

                                           12
Case 1:19-md-02875-RMB-SAK        Document 598     Filed 10/16/20    Page 23 of 53 PageID:
                                        12551



  obliged to establish the standing of unnamed class members. See Neale, 794 F.3d at

  362; Rolland v. Spark Energy, LLC, No. 17-2680, 2019 WL 1903990, at *5 n.6

  (D.N.J. Apr. 29, 2019) (citing Langan v. Johnson & Johnson Consumer Cos., Inc.,

  897 F.3d 88, 96 (2d Cir. 2018)).8

        Even accepting that premise, the named Plaintiffs must still “demonstrate

  standing for each claim [they] seek[] to press[.]” DaimlerChrylser Corp. v. Cuno,

  547 U.S. 332, 352 (2006). That means they must “establish standing for each claim

  asserted in the complaint[,]” and “lack standing to assert claims on behalf of

  unnamed plaintiffs in jurisdictions where [p]laintiffs have suffered no alleged

  injury.” Ponzio v. Mercedes-Benz USA, LLC, 447 F. Supp. 3d 194, 222–23 (D.N.J.

  2020). In Ponzio, this Court rejected the same argument pressed here and dismissed

  plaintiffs’ multi-state and nationwide state law claims outside of the states

  represented by named plaintiffs. Id. at 223. The same result should obtain here.

  “Otherwise, a plaintiff would be able to bring a class action complaint under the laws

  of nearly every state in the Union without having to allege concrete, particularized

  injuries relating to those states, thereby dragging defendants into expensive


  8
   Mielo v. Steak N’ Shake Operations, Inc., 897 F.3d 467 (3d Cir. 2018) and Rolland
  cited by plaintiffs are inapposite to the case here. Mielo addresses class
  representatives’ ability to bring a uniform federal statutory claim under the
  Americans with Disabilities Act. Mielo, 897 F.3d at 481–82. Rolland deals with a
  single named plaintiff, representing only a potential theoretical multistate class, who
  alleged injury stemming from a single defendant’s actions in New Jersey.

                                            13
Case 1:19-md-02875-RMB-SAK         Document 598      Filed 10/16/20   Page 24 of 53 PageID:
                                         12552



  nationwide class discovery, potentially without a good-faith basis.” In re Magnesium

  Oxide Antitrust Litig., No. 10-5943, 2011 WL 5008090, at *10 (D.N.J. Oct. 20,

  2011).

  II.   THE OPPOSITION FAILS TO OVERCOME PREEMPTION AND
        PRIMARY JURISDICTION

        A.     Most of Plaintiffs’ Claims Are Preempted

        Plaintiffs’ Opposition asserts: (1) impossibility preemption is inapplicable

  because it was possible for Defendants to comply with both federal and state law,

  Opp. 40–42, and (2) implied preemption is inapplicable because Plaintiffs’ claims

  have an independent basis in state law, id. 42–45. The first point attacks an argument

  Defendants have not made. The second point is unsupported as a matter of law and

  at odds with Plaintiffs’ entire theory of this case.9

               1.     Plaintiffs’ Arguments Against Impossibility Preemption Are
                      Irrelevant
        Plaintiffs elevate an imagined argument to first position in their brief by

  contesting “impossibility preemption.” Opp. 40–42. But Defendants have not argued



  9
    Plaintiffs also assert preemption is an affirmative defense unsuited to a motion to
  dismiss. Opp. 39–40. That is incorrect. The seminal case on implied preemption
  under Section 337(a) applied it on a motion to dismiss. Buckman Co. v. Plaintiffs’
  Legal Comm., 531 U.S. 341, 347 (2001). Plaintiffs rely on a footnote in a Third
  Circuit opinion that reversed a district court’s preemption decision for relying on
  “facts that were neither in [the] complaint nor undisputed.” In re Asbestos Prods.
  Liab. Litig. (No. VI), 822 F.3d 125, 128, 133 n.6 (3rd Cir. 2016). Yet the same
  footnote acknowledges that a motion to dismiss is appropriate when, as here,
  “preemption is manifest in the complaint itself.” Id. at 133 n.6 (citations omitted).

                                             14
Case 1:19-md-02875-RMB-SAK        Document 598      Filed 10/16/20   Page 25 of 53 PageID:
                                        12553



  that doctrine. In light of the Complaints’ ambiguity, Defendants simply reserved the

  issue “to the extent” Plaintiffs intended to allege—but failed to articulate—that

  Defendants had a state-law obligation to alter labels or manufacturing processes to

  comply with state law. See ECF 520-3 (hereinafter “Br.”) 24 n.22, 38–39 n.35.

  Defendants’ ability or inability to comply with both federal and state law is irrelevant

  to the actual preemption question before this Court—whether Plaintiffs are pursuing

  impermissible private enforcement of the FDCA.

               2.     Plaintiffs’ Arguments Against Implied Preemption Are
                      Contrary to Plaintiffs’ Own Allegations and Arguments
                      Elsewhere in the Same Opposition

        As to implied preemption, the Opposition asserts it is a “narrow defense”

  limited to “fraud-on-the-FDA claims.” Opp. 42. But it is not so circumscribed.

  Though Buckman itself involved a fraud-on-the-FDA claim, its effect is to preempt

  all “private proceedings that rely on alleged violations of the FDCA as a necessary

  component of their cause of action and that seek to redress or restrain those FDCA

  violations.” Corrected Brief for the United States as Amicus Curiae Supporting

  Appellee at 10–11, Amarin Pharma, Inc. v. ITC (Fed. Cir. Mar. 27, 2018) (2018-

  1247, 2018-114) (“FDA Amicus”) (quoting 21 U.S.C. § 337(a)). Anything less fails

  to give “meaningful effect” to the bar on private enforcement. Id.; see also Excela

  Pharma Sciences, LLC v. Sandoz Inc., ---F. Supp. 3d.---, No. 19-318, 2020 WL

  5535026, at *5 (W.D.N.C. Sept. 15, 2020) (citation omitted) (holding FDCA’s


                                            15
Case 1:19-md-02875-RMB-SAK       Document 598      Filed 10/16/20   Page 26 of 53 PageID:
                                       12554



  “prohibition on private actions . . . would be ‘thwarted if savvy plaintiffs can label

  as arising under a state law . . . a claim that in substance seeks to enforce the

  FDCA’”). FDA’s views on the preemptive scope of Section 337(a)—which the

  Opposition does not even mention—are “significant” and deserving of deference.

  Horn v. Thoratec Corp., 376 F.3d 163, 170–71 (3d Cir. 2004).10

        Plaintiffs next claim that they do not seek to enforce the FDCA because their

  claims are based on “independent state law[.]” Opp. 42. That ignores Plaintiffs’ own

  allegations expressly predicated on FDCA and FDA regulatory violations, such as:

              Defendants sold or manufactured “adulterated drugs”—drugs that are,
               inter alia: non-compliant with cGMPs, 21 U.S.C. § 351(a)(1); different
               from their approved brand-name counterpart, see id. § 351(b); or mixed
               with a substance that reduces their quality, see id. § 351(d); and

              Defendants sold a drug that was not the “same” as the brand-name in
               violation of the “duty of sameness” of generic drugs, id.
               § 355(j)(2)(A)(i)–(v), and drug labeling, see id. § 321(m).

        Plaintiffs do not contest that each claim at issue relies on proving either

  conduct that violated the FDCA or false statements about compliance with the

  FDCA. See Br. 21–27. These claims are preempted because, “though nominally

  brought under [state law],” they “attempt to enforce or restrain violations of the



  10
     Defendants also rely on the Solicitor General’s representations as to the
  preemptive scope of Section 337(a), see Br. 19 n.15 (citing Brief of Federal
  Respondent ITC in Opposition at 12, Amarin Pharma, Inc. v. ITC, (No. 19-152)
  (Nov. 4, 2019), 2019 WL 5784708, at *12)). Plaintiffs do not address that authority,
  either.

                                           16
Case 1:19-md-02875-RMB-SAK        Document 598        Filed 10/16/20   Page 27 of 53 PageID:
                                        12555



  FDCA[,]” and seek as a “necessary component” to “prove FDCA violations and

  compel obedience to the FDCA through the remedies provided by [state law].” FDA

  Amicus at 1. The analysis is straightforward; it asks whether Plaintiffs’ claims could

  proceed in the absence of the FDCA’s requirements. The negligence per se and

  design defect claims could not because the FDCA supplies the standards of conduct

  Defendants allegedly violated. And the breach of express warranty, fraudulent

  misstatement, negligent misstatement, and state consumer protection law claims

  could not, as Defendants’ purported misstatements are only false because

  Defendants allegedly misrepresented compliance with the FDCA.11

        The Opposition itself further illustrates Plaintiffs’ reliance upon the FDCA. It

  is littered with citations to the FDCA, statements referring to Defendants’ VCDs as

  “adulterated [and] misbranded,” and references to Defendants’ alleged actions as

  “unlawful” and in violation of the FDCA. See, e.g., Opp. 2, 12, 19. Plaintiffs’ entire

  theory of this case is based on Defendants’ supposed failure to comply with the

  FDCA’s prohibition on the manufacture and sale of adulterated drugs, including

  alleged non-compliance with the cGMPs and the FDCA’s “sameness” requirements,

  not (unidentified) “analogous state law.” Id. 23.

        Plaintiffs’ further assertion (without citation) that their claims “are traditional


  11
    Plaintiffs’ reliance on the FDCA distinguishes this case from Plaintiffs’ principal
  authority, In re Reglan Litig., 142 A.3d 725, 739 (N.J. 2016). The failure-to-warn
  claims there were not “dependent on” federal law. Id.

                                            17
Case 1:19-md-02875-RMB-SAK        Document 598        Filed 10/16/20   Page 28 of 53 PageID:
                                        12556



  state law claims” that do not “conflict with, or pose an obstacle to, compliance with

  federal requirements,” Id. 44–45, conflates implied preemption under the FDCA

  with impossibility preemption and/or obstacle preemption. Whether labeled

  “traditional” or not, “private litigants may not bring a state-law claim against a

  defendant when the state-law claim is in substance (even if not in form) a claim for

  violating the FDCA.” Excela Pharma Sciences, No. 19 -00318, 2020 WL 5535026,

  at *5 (internal quotations and citation omitted).

        Oddly, the only two claims Plaintiffs even attempt to defend by name against

  preemption are negligence, Opp. 43, and manufacturing defect, id. 44. Defendants

  did not argue either claim is preempted altogether—just limited to theories deriving

  from independent state-law duties. See Br. 22 n.19, 44. As for the remaining claims,

  rather than address Defendants’ claim-by-claim preemption analysis, Plaintiffs

  simply assert in broad strokes that their “claims have an independent state law basis,

  and Plaintiffs explicitly do not seek to enforce FDA regulations as the sole basis for

  recovery[,]” followed by string citations to the Complaints. Opp. 42–43. Plaintiffs

  cannot so easily dispense with their own allegations. They chose to frame their

  claims by reference to and in express reliance upon alleged FDCA violations,

  intruding upon enforcement committed “exclusively to the federal government to

  ensure that complex enforcement decisions are made with the benefit of FDA’s

  scientific and regulatory expertise.” FDA Amicus at 7.


                                            18
Case 1:19-md-02875-RMB-SAK       Document 598      Filed 10/16/20   Page 29 of 53 PageID:
                                       12557



        B.     The Primary Jurisdiction Doctrine Requires Abstention from
               Plaintiffs’ Claims

        The Opposition constructs a strawman in place of Defendants’ actual primary

  jurisdiction argument, insisting Defendants seek to interpose primary jurisdiction as

  an absolute bar to all cases involving FDA-regulated products. Opp. 45. That has

  never been Defendants’ position. Primary jurisdiction is implicated only where

  “protection of the integrity of a regulatory scheme dictates preliminary resort to the

  agency which administers the scheme.” Clark v. Actavis Grp. hf, 567 F. Supp. 2d

  711, 715 (D.N.J. 2008) (quoting Cheyney State Coll. Faculty v. Hufstedler, 703 F.2d

  737, 736 (3d Cir. 1983) (internal citation omitted)). The Opposition relies on Ninth

  Circuit authority to suggest that primary jurisdiction is limited to issues of “first

  impression” and “particularly complicated issue[s.]” Opp. 46 (citing Astiana v. Hain

  Celestial Grp., Inc., 783 F.3d 753, 760 (9th Cir. 2015)). Though both are present

  here, there is no indication the Third Circuit has confined primary jurisdiction to

  those two circumstances. To the contrary, primary jurisdiction “may even be applied

  ‘in cases where the [issues] raised are within the ordinary experience of [the]

  judiciary.’” Clark, 567 F. Supp. 2d at 715 (quoting IPCO Safety Corp. v. WorldCom,

  Inc., 944 F. Supp. 352, 355 (D.N.J. 1996) (internal citation omitted)).

        For the first of the four factors used to decide primary jurisdiction—

  specialization—Plaintiffs do not dispute that their allegations raise numerous issues

  within FDA’s specialized expertise. See Br. 28–29 (listing specialized topics). But

                                           19
Case 1:19-md-02875-RMB-SAK        Document 598      Filed 10/16/20   Page 30 of 53 PageID:
                                        12558



  the Opposition insists that “liability” issues are “well within the conventional

  experience” of the Court. Opp. 46. While that may be true of the general topic of

  “liability,” to get to a liability determination here, the Court must first wade through

  questions of bioequivalence, pharmacokinetic profiles, A/B ratings, Orange Book

  listings, cGMPs, FDA standards, and FDA labeling. These are not the everyday

  matters of conventional judicial experience.

        With respect to the second factor—agency discretion—Plaintiffs assert FDA

  has “already made” its “initial determination” that Defendants’ VCDs contained

  unsafe levels of nitrosamines and insists any remaining issues “do not fall within an

  agency’s discretion.” Opp. 46–47. The Complaints contain no allegations of such a

  “determination” by FDA. Plaintiffs allege limited FDA testing results (with more to

  come) and allege recalls to date are just the “tip of the iceberg.” See, e.g., PIMC ¶¶

  8, 10, 170–82, 284–85, 391; ELMC ¶¶ 5, 241–42, 312, 346–50, 405; MMMC ¶¶ 4,

  203, 313–16, 381. Nothing suggests FDA has completed its discretionary work.

        Indeed, FDA has only just issued its first guidance to industry on this topic.

  See FDA, Control of Nitrosamine Impurities in Human Drugs: Guidance for

  Industry (September 2, 2020) (the “Guidance”) (available at https://www.fda.gov/

  media/141720/download) (last accessed Sept. 13, 2020).12 The Guidance makes



  12
     The Court may take judicial notice of FDA’s public records. Otsuka Pharm. Co.
  v. Torrent Pharm. Ltd., Inc., 118 F. Supp. 3d 646, 655 n.7 (D.N.J. 2015).

                                            20
Case 1:19-md-02875-RMB-SAK        Document 598     Filed 10/16/20     Page 31 of 53 PageID:
                                        12559



  clear this is a complicated issue and one of first impression in which FDA continues

  to exercise discretion. FDA has already seen voluntary recalls lead to drug shortages,

  “continues to investigate[,]” and has partnered with other regulatory authorities “to

  share information, coordinate inspection efforts, communicate effective analytical

  methods to detect and identify various nitrosamines, and to develop rapid solutions

  to ensure the safety and quality of the drug supply.” Id. at 2–3.

         Plaintiffs concede the last two factors—danger of inconsistent rulings and

  prior application to the agency. All four factors in this case thus weigh in favor of

  abstention on primary jurisdiction grounds, distinguishing this case from Plaintiffs’

  authorities. See Baykeeper v. NL Indus., Inc., 660 F.3d 686, 691–92 (3d Cir. 2011)

  (finding all four factors weighed against primary jurisdiction); Bus. Edge Grp., Inc.

  v. Champion Mortg. Co., 519 F.3d 150, 154 (3d Cir. 2008) (finding primary

  jurisdiction unnecessary for question of textual interpretation). The Court should

  abstain from Plaintiffs’ remaining claims on primary jurisdiction grounds.

  III.   THE NJPLA AND OTHER STATE PLAS SUBSUME MOST OF
         PLAINTIFFS’ CLAIMS

         A.    The ELMC Claims Are Subsumed

         Plaintiffs’ assertions about Sun Chem. Corp. v. Fike Corp., 235 A.3d 145 (N.J.

  2020), Opp. 49–50, are wrong. In Sun Chemical, the New Jersey Supreme Court

  answered the narrow question of whether a New Jersey Consumer Fraud Act

  (“CFA”) claim “may be brought in the same action as a PLA claim[.]” 235 A.3d at

                                            21
Case 1:19-md-02875-RMB-SAK       Document 598      Filed 10/16/20   Page 32 of 53 PageID:
                                       12560



  148.13 To the extent Sun Chemical relates to this action at all, it carefully explains

  the Court’s previous holding in Sinclair v. Merck & Co., 948 A.2d 587 (N.J. 2008),

  and reaffirms Defendants’ central thesis here—a CFA claim and other causes of

  action are subsumed where “plaintiffs’ allegations” demonstrate that “[t]he heart of

  [their] case [was] the potential for harm caused by” a defendant’s drug. Sun Chem.,

  235 A.3d at 154 (quoting Sinclair, 948 A.2d at 596) (alterations in original).

  Plaintiffs’ “failure to allege physical injuries” in the ELMC does not remove its

  claims from the purview of the NJPLA. Id. Nor do claims for pure economic loss

  avoid the NJPLA where, as here, that loss is measured by the presence of a

  purportedly dangerous, carcinogenic impurity. See Br. 34–35 (citing Levinson;

  Crouch; Boyd).14 Plaintiffs’ theory of harm emphasizes economic loss because of


  13
      Contrary to Plaintiffs’ assertion, Opp. 49, nothing about Sun Chemical suggests
  that New Jersey has now decided to deviate from the long line of cases
  demonstrating that product liability claims are subsumed. Moreover, Plaintiffs’
  insinuation that “only” manufacturing defect, design defect, and failure-to-warn
  claims are subsumed, Opp. 49, is a misunderstanding of NJPLA jurisprudence. As
  Judge Kugler previously stated, “The PLA is ‘both expansive and inclusive,
  encompassing virtually all possible causes of action relating to harms caused by
  consumer and other products.’” Sich v. Pfizer Pharm., No. 17-02828, 2017 WL
  4407930, at *2 (D.N.J. Oct. 4, 2017) (finding claims for strict products liability,
  negligence, breach of implied warranty, and loss of consortium subsumed by
  NJPLA) (quoting In re Lead Paint Litig., 924 A.2d 484, 436–37 (N.J. 2007)).
  14
     Levinson v. Johnson & Johnson Consumer Cos., Inc., No. 09-3317, 2010 WL
  421091 (D.N.J. Feb. 1, 2010), reconsidered on other grounds, 2010 WL 3024847
  (D.N.J. Aug. 2, 2010) (dismissing complaint); Crouch v. Johnson & Johnson
  Consumer Co., Inc., No. 09-2905, 2010 WL 1530152 (D.N.J. Apr. 15, 2010)
  reconsidered on other grounds, 2010 WL 3024692 (D.N.J. Aug. 2, 2010); Boyd v.
  Johnson & Johnson Consumer Co., Inc., No. 09-3135, 2010 WL 2265317 (D.N.J.

                                           22
Case 1:19-md-02875-RMB-SAK        Document 598     Filed 10/16/20    Page 33 of 53 PageID:
                                        12561



  the potential danger of an alleged impurity, so Plaintiffs’ claims—including their

  CFA claims—are subsumed by the NJPLA.

        Although Plaintiffs list a number of states with “economic loss” exceptions in

  their charts, they concede that the “analysis and principles” of the NJPLA should

  apply “equally to any of the other states’ product liability acts[.]” Opp. 49; see also

  Charts 16–19. In this respect, measuring economic loss via carcinogenic properties

  subsumes Plaintiffs’ claims within the scope of other PLAs. See ELMC ¶ 362.

        B.     The MMMC Claims Are Subsumed

        Plaintiffs state the MMMC alleges the type of injury encompassed by the

  NJPLA, so their claims are subsumed. Opp. 51. Although Defendants do not concede

  cellular damage and genetic harm constitute physical harm, see Parker v. Wellman,

  230 Fed. App’x. 878 (11th Cir. Apr. 18, 2007), Sinclair squarely addresses why

  claims premised on medical monitoring are subsumed by the NJPLA even where

  those claims do not allege a compensable physical injury. Sinclair, 948 A.2d at

  589.15 Plaintiffs fail to distinguish Sinclair. The NJPLA subsumes their claims, and

  the MMMC should be dismissed for all states with PLAs. See Charts 16–19; see also

  Clements v. Sanofi-Aventis, U.S., Inc., 111 F. Supp. 3d 586, 596 (D.N.J. 2015)



  May 31, 2010) (same) reconsidered on other grounds, 2010 WL 3024845, at *6
  (D.N.J. Aug. 2, 2010) (dismissing complaint).
  15
     Plaintiffs do not appear to separately address the NJPLA or other PLAs as they
  relate to PIMC claims. For reasons already stated, those claims are subsumed, and
  Plaintiffs have not contested their dismissal.

                                            23
Case 1:19-md-02875-RMB-SAK         Document 598      Filed 10/16/20   Page 34 of 53 PageID:
                                         12562



  (holding the NJPLA subsumes “any cause of action ‘for harm caused by a product’”)

  (quoting N.J.S.A. § 2A:58C–1(b)(3)).

  IV.   THE OPPOSITION CANNOT SALVAGE ALL OF PLAINTIFFS’ STATE
        LAW CLAIMS

        A.     Defendants Do Not Seek “Piecemeal” Dismissal

        Plaintiffs attempt to leverage the structure of the Complaints—in which all

  Plaintiffs and Defendants, and all states’ laws, are thrown together into umbrella

  counts organized by one legal theory—to prevent dismissal of any Plaintiff’s claims

  unless an argument can be applied globally to every Plaintiff’s claim. It is entirely

  appropriate for the Court to dismiss individual Plaintiffs’ claims where those

  Plaintiffs cannot satisfy their pleading obligations under the state law governing

  those claims, even if other individual Plaintiffs’ claims under the same theory might

  survive under their states’ laws.

        Individual cases in an MDL “retain their separate identities” and must

  continue to be assessed separately under the Federal Rules. In re Nat’l Prescription

  Opiate Litig., 956 F.3d at 844 (quoting Gelboim, 135 S. Ct. at 904 & n.3).

  Accordingly, the Complaints’ counts do not represent single claims, but

  amalgamations of multiple Plaintiffs’ claims against multiple Defendants, each of

  which retains its identity and is subject to separate consideration and dismissal.

        “Piecemeal” dismissal is something else altogether—the dismissal of part but

  not all of a single claim. That is, the dismissal of specific allegations while the claim

                                             24
Case 1:19-md-02875-RMB-SAK         Document 598     Filed 10/16/20   Page 35 of 53 PageID:
                                         12563



  survives. See, e.g., BBL, Inc. v. City of Angola, 809 F.3d 317, 325 (7th Cir. 2015)

  (stating “Rule 12(b)(6) doesn’t permit piecemeal dismissals of parts of claims”)

  (emphasis in original). As Plaintiffs’ own authority acknowledges, Rule 12(b)(6) “is

  the proper procedural mechanism to dismiss part of a complaint[.]” Redwind v. W.

  Union, LLC, No. 18-02094, 2019 WL 3069864, at *4 (D. Or. June 21, 2019).

  “Rule 12(b)(6) provides for the dismissal of a complaint, in whole or in part, if it

  fails to state a claim upon which relief can be granted.” Thompson v. Real Est. Mortg.

  Network, Inc., 106 F. Supp. 3d 486, 489 (D.N.J. 2015) (emphasis added). Defendants

  have identified fatal defects of law in entire claims brought by multiple Plaintiffs

  under the governing laws of multiple states. Preserving facially untenable claims

  serves no interest of justice or efficiency, and is directly contrary to the narrowing

  function of Rule 12(b)(6). See Mann, 375 F. App’x at 239.

           B.    Plaintiffs Fail to Plead Breach of Warranty Claims

                 1.    Plaintiffs’ Implied Warranty Claims Fail16
                       a.     The Implied Warranty Claims in the ELMC and MMMC
                              Fail to Allege Injury or Loss of Functionality

           Where a product performs its ordinary or general purpose, no breach has

  occurred. Br. 46. Contrary to Plaintiffs’ suggestion, Opp. 54–55, the implied

  warranty of merchantability does not guarantee that the “goods [at issue] precisely

  fulfill” a buyer’s “expectation.” Lieberson v. Johnson & Johnson Consumer Cos.,


  16
       For reasons stated above, Plaintiffs’ implied warranty claims are preempted.
                                             25
Case 1:19-md-02875-RMB-SAK       Document 598      Filed 10/16/20   Page 36 of 53 PageID:
                                       12564



  Inc., 865 F. Supp. 2d 529, 542 (D.N.J. 2011). Rather, the warranty provides for a

  “minimum level of quality,” and assures “the product sold should be of the general

  kind described and reasonably fit” for its “general” purpose. Id. (internal citations

  and quotation marks omitted) (emphasis added). In other words, breaching the

  implied warranty requires loss of functionality or physical harm. See Br. 46.

        Plaintiffs cite exactly one case, Debernardis, which does not even involve an

  implied warranty claim. Opp. 55–56. Plaintiffs fail to cite any authority showing that

  a breach of implied warranty claim survives where the product delivered its

  promised therapeutic benefits and did not harm consumers. Plaintiffs’ efforts to

  distinguish Defendants’ authorities also fail. Opp. 56–57. These cases illustrate that

  a product does not violate the implied warranty of merchantability simply because it

  contains a small amount of a toxic substance (Hoffman), incorporates undisclosed

  ingredients (Hammer), or was counterfeit (Bowman). Br. 46–47.17

        The Complaints allege the implied warranty laws of the fifty states reflect the

  UCC. MMMC ¶ 459; ELMC ¶ 459. And numerous jurisdictions, similar to New

  Jersey, have found implied warranty claims unavailable in the absence of injury or




  17
     Hoffman v. Nutraceutical Corp., No. 12-5803, 2013 WL 2650611, at *4 (D.N.J.
  June 10, 2013); Hammer v. Vital Pharms., Inc., No. 11-4124, 2012 WL 1018842,
  at *12 (D.N.J. Mar. 26, 2012); Bowman v. Ram Med., Inc., No. 10-4403, 2012 WL
  1964452, at *5 (D.N.J. May 31, 2012).

                                           26
Case 1:19-md-02875-RMB-SAK        Document 598      Filed 10/16/20   Page 37 of 53 PageID:
                                        12565



  loss of functionality.18 Because Plaintiffs have not pointed to a divergence of law

  with respect to the arguments raised in Defendants’ Motion to Dismiss, the Court

  may use New Jersey law at this stage to evaluate the implied warranty claims of all

  states and to dismiss all claims. See, e.g., Ciecka v. Rosen, 908 F. Supp. 2d 545, 552

  (D.N.J. 2012) (citations omitted) (if “no conflict, the forum state’s law applies.”).

                      b.    Plaintiffs’ Alleged Privity Exceptions Are Inapplicable

        Plaintiffs attempt to identify various exceptions to the privity requirement in

  a handful of states, Opp. 68–70, but they appear to concede that at least eight states

  require privity for breach of implied warranty and no exception applies.19 To the

  extent these states may recognize exceptions to the privity requirement, Plaintiffs

  have not briefed or explained those exceptions. For the remaining states, Plaintiffs

  list several inapplicable purported exceptions. Id. 68–70.

        First, Plaintiffs identify Florida, Georgia, Illinois, and Vermont as states

  creating an exception to privity for implied warranties, but Plaintiffs either

  misconstrue the case law or the scope of the exception in those states. 20 Id. 68.


  18
     A non-exhaustive list can be found at Second Charts at 6. New Jersey is not unique
  in its interpretation of the implied warranty of merchantability.
  19
     AZ, ID, IA, KA, KY, MI, OR, TN, and WI.
  20
     Florida: the exception applies only where there is “direct contact by means of
  actual one-on-one communication[,]” which is not at issue here. Toca v. Tutco, LLC,
  430 F. Supp. 3d 1313, 1326 (S.D. Fla 2020) (emphasis in original); Georgia: the
  case cited by Plaintiffs muddles the difference between express and implied
  warranties, and a subsequent case clarified, “[i]t is settled Georgia law that
  manufacturers may not be subject to implied warranty liability because of the lack

                                            27
Case 1:19-md-02875-RMB-SAK        Document 598      Filed 10/16/20   Page 38 of 53 PageID:
                                        12566



        Next, Plaintiffs assert that Alabama, Nevada, North Carolina, Ohio, Utah, and

  Washington have adopted the third-party beneficiary doctrine. Id. 69. But, Plaintiffs

  are not third-party beneficiaries. To be a beneficiary, a third party’s identity must be

  known to the defendant and the purported contract must be entered with the clear

  contemplated purpose of directly benefiting the third party. See Traxler v. PPG

  Indus., 158 F. Supp. 3d 607, 624–27 (N.D. Ohio 2016) (interpreting Ohio, North

  Carolina, New York, and Washington law); see also Ironshore Specialty Ins. Co. v.

  Callister, Nebeker & McCullough, No. 15-677, 2016 WL 633353, at *6–7 (D. Utah

  Feb. 17, 2016); Stinson v. Twin Pines Coal, Co., No. 14-334, 2014 WL 4472605, at

  *5–6 (M.D. Ala. Sept. 11, 2014); McVay v. Allied World Assur. Co., Inc, 16 F. Supp.

  3d 1202, 1207 (D. Nev. 2014). “Incidental” (as opposed to “direct”) beneficiaries of

  downstream consumer transactions fall outside the exception. See Traxler, 158 F.

  Supp. 3d at 624–27. Conclusory allegations that a plaintiff is a third-party

  beneficiary cannot survive a motion to dismiss. See id.



  of privity between the manufacturer and the ultimate product purchaser . . . there are
  no exceptions to this rule.” Morgan v. Dick’s Sporting Goods, Inc., 359 F. Supp. 3d
  1283, 1292 (N.D. Ga. 2019) (citing Lee v. Mylan Inc., 806 F. Supp. 2d 1320 (M.D.
  Ga. 2011); Illinois: Plaintiffs cite two cases. In McDonald’s, Plaintiffs did not even
  bring a breach of implied warranty of merchantability claim. In Canadian Pacific,
  the purported exception requires a manufacturer to know the “identity” of the
  consumer, which is not at issue here. No. 02 C 8800, 2005 WL 782698, *12 (N.D.
  Ill. Apr. 6, 2005); Vermont: Plaintiffs inexplicably cite Moffit, which only concerns
  lack of privity in property damage cases. Moffit does not suggest that privity is
  relaxed in implied warranty economic loss cases. 407 F. Supp. 2d at 598.

                                            28
Case 1:19-md-02875-RMB-SAK       Document 598      Filed 10/16/20   Page 39 of 53 PageID:
                                       12567



        Lastly, Plaintiffs state that New York and Connecticut have privity exceptions

  for foodstuffs or pharmaceuticals, but these exceptions do not apply.21 Opp. 70.

               2.    Plaintiffs’ Express Warranty Claims Fail

                     a.     Plaintiffs Have Not Demonstrated How Any Express
                            Warranty Became the Basis for Any Bargain

        Plaintiffs argue they have met the “basis of the bargain” requirement, but cite

  no authority for their mistaken view of what comprises a “basis of the bargain.” Opp.

  62–63. The fact that a medication leaflet or other alleged warranty must legally

  accompany the sale of a medication does not, by itself, meet the basis of the bargain

  requirement, as the alleged warranty must be seen or heard by the purchaser.22 Br.

  46-47. Metcalfe v. Biomet, Inc., No. 18-456, 2019 WL 192902, at *4 (D.N.J. Jan.

  15, 2019) (“[I]f a plaintiff does not plead that he saw the alleged warranty, then a

  court cannot reasonably infer that the warranty formed a basis of the bargain.”)




  21
     New York: The New York case cited by Plaintiffs predates New York’s enactment
  of the UCC and does not apply. Weisblum v. Prophase Labs, Inc., 88 F. Supp. 3d
  283 (S.D.N.Y. 2015). There is no modern articulated exception for foodstuffs or
  pharmaceuticals. See id. Connecticut: Connecticut law requires a plaintiff to rely
  on a manufacturer’s representations, or at least see the warranty, to void the privity
  requirement for the implied warranty, and there are no such allegations here. See
  100% Grated Parmesan Cheese, 393 F. Supp. 3d at 760 (interpreting Connecticut
  law).
  22
     Plaintiffs claim that simply calling the medication “valsartan” also creates an
  express warranty is belied by the ample precedent demanding specificity for express
  warranties. See Br. 48.

                                           29
Case 1:19-md-02875-RMB-SAK        Document 598     Filed 10/16/20    Page 40 of 53 PageID:
                                        12568



  (emphasis in original); In re: Elk Cross Timbers Decking Mktg., No. 15-18, 2015

  WL 6467730, at *28 (D.N.J. Oct. 26, 2015) (interpreting multiple states’ law).

        Plaintiffs also conflate “reliance” with “basis of the bargain.” Opp. 63.

  Although some jurisdictions apply a reliance requirement,23 at a minimum, “basis of

  the bargain” still compels plaintiffs to plead that they have “read, seen, or heard the

  advertisements at issue.” Ciopollone v. Liggett Grp., Inc., 893 F.2d 541, 569 (3d Cir.

  1990), rev’d in part on other grounds, 505 U.S. 504 (1992). Defendants’ Charts at

  39–41 demonstrate that “basis of the bargain” remains a statutory requirement for

  jurisdictions adopting the UCC. Plaintiffs cannot satisfy this requirement.

                      b.    Plaintiffs Have Not Identified the Specific Language or
                            Source of the Warranties

        Defendants provided ample authority to support their position that Plaintiffs

  must plead specific language or the source of an express warranty, whereas Plaintiffs

  have provided no opposing authority. Opp. 64-65; Br. 48–49. Representations about




  23
     Similar to New Jersey, numerous jurisdictions have interpreted “basis of the
  bargain” to mean that Plaintiffs must at least see or hear the alleged representation
  before it becomes a warranty. Others have required the more stringent standard of
  reliance, i.e., an inducement of the purchase. See Second Charts 8. Although not all
  jurisdictions have elaborated on the “basis of the bargain” requirement, no
  jurisdiction adopting the UCC could find that a statement constituted an express
  warranty absent Plaintiff seeing or hearing that statement before or during the
  transaction.

                                            30
Case 1:19-md-02875-RMB-SAK        Document 598      Filed 10/16/20   Page 41 of 53 PageID:
                                        12569



  the general safety or efficacy of VCDs do not create express warranties unless

  Plaintiffs also allege the representations were unqualified. Opp. 65; Br. 49.24

        And, as with the breach of implied warranty claims, Plaintiffs’ purported

  exceptions to privity are inapplicable.25

               3.     Plaintiffs Have Failed to Demonstrate Pre-Suit Notice

        Plaintiffs’ pre-suit letters only apply to a limited number of Plaintiffs and a

  limited subset of Defendants.26 Opp. 66. Moreover, none of the letters were sent

  before the initial suits were filed. Plaintiffs also cite no authority—and make no

  distinction between states—supporting the proposition that a recall is sufficient to

  put Defendants on pre-suit notice of claims. To the contrary, a recall does not serve


  24
     As a matter of law, representations about the general safety or efficacy of a drug
  do not create express warranties unless Plaintiffs also demonstrate those
  representations were explicitly unqualified. Opp. 65; Br. 49.
  25
     Plaintiffs argue for various inapplicable exceptions. Opp. 60–61. Connecticut:
  Utica only concerns horizontal, not vertical privity. The insured in that case was in
  vertical privity with the manufacturer. 778 F. Supp. 592, 592 (D. Conn. 1991);
  Florida: The Aprigliano case overstates the exception discussed in Mesa v. BMW of
  N. Am., LLC, 904 So.2d 450, 57–58 (Fla. Dist. Ct. App. 2005). As Mesa indicates,
  this exception only applies where the terms of a warranty explicitly extend to
  subsequent purchasers, which has not been alleged here; Georgia: The case
  Plaintiffs cite makes clear that the warranty only extends if the warranty explicitly
  applies to subsequent purchasers; Illinois: On the terms of the case cited by
  Plaintiffs, the manufacturer must give the warranty “directly” to the buyer, which is
  not at issue here; Kentucky: Estate of Demoss concerns a statutory claim, not a
  common law claim for express warranty; Maryland: Plaintiffs are not third-party
  beneficiaries; Wisconsin: The case cited by Plaintiffs does not state a rule for privity
  relating to economic loss, express warranty claims.
  26
     These materials are extraneous to the Complaints and should not be considered.
  Plaintiffs must plead pre-suit notice.

                                              31
Case 1:19-md-02875-RMB-SAK        Document 598      Filed 10/16/20   Page 42 of 53 PageID:
                                        12570



  as sufficient notice. See Am. Fed'n of State Cty. & Mun. Emps. v. Ortho-McNeil-

  Janssen Pharm., Inc., No. 08-5904, 2010 WL 891150, at *6 (E.D. Pa. Mar. 11,

  2010); see also Perona v. Volkswagen of Am., Inc., 684 N.E.2d 859, 872 (Ill. App.

  Ct. 1997). Plaintiffs identify no authority indicating that this Court’s direction to

  draft and file master complaints obviates the notice requirements of state law.

               4.     Plaintiffs’ Magnuson-Moss Warranty Act Claims Fail

        Plaintiffs do not address Defendants’ argument that the MMWA is

  inapplicable where federal law controls the content of the alleged warranty. Opp. 54

  n.12. Given this concession, the MMWA claims should be dismissed.

        C.     Plaintiffs Fail to Plead Unjust Enrichment Claims

        Contrary to Plaintiffs’ assertion that Defendants conflate “direct benefit” with

  the “direct conferral of that benefit,” Opp. 74, Defendants’ original chart clearly

  indicates that “direct benefit” means conferral.27 Charts 50–51.28

        Plaintiffs’ arguments regarding adequate remedy at law and duplicative

  claims are also unavailing. Plaintiffs correctly state that they “are entitled to plead

  two or more statements of a claim or defense in the alternative,” Opp. 72, but provide


  27
     Plaintiffs cite one case for the proposition that the “direct” rule does not apply to
  written warranties, so Plaintiffs’ argument should be limited to that jurisdiction.
  Opp. 73.
  28
     Disputing the direct benefit requirement, Plaintiffs focus on outmoded law in
  Florida. Opp. 76. However, in 2017, the Florida Supreme Court stated “to prevail on
  an unjust enrichment claim, the plaintiff must directly confer a benefit to the
  defendant.” Kopel v. Kopel, 229 So. 3d 812, 818 (Fla. 2017) (emphasis added).

                                            32
Case 1:19-md-02875-RMB-SAK         Document 598      Filed 10/16/20   Page 43 of 53 PageID:
                                         12571



  no further argument as to why this court should not dismiss claims in the six states

  requiring an affirmative showing of an absence of an adequate remedy. Charts 49.

        Plaintiffs further state that their claims are not duplicative because they focus

  on Defendants’ purported “ill-gotten gains.” Opp. 72–73. However, Plaintiffs fail to

  allege how the Manufacturing Defendants received any gains from Plaintiffs or to

  differentiate the unjust enrichment claims against Manufacturing Defendants from

  the other duplicative causes of action. As such, Plaintiffs’ claims brought under the

  states that preclude unjust enrichment where there is an adequate remedy at law

  should be dismissed. See Charts 52–56.

        D.     Plaintiffs Fail to Plead Negligence Claims

        Plaintiffs argue that it is inappropriate for a court to dismiss the ELMC’s and

  MMMC’s negligence claims on economic loss grounds where there could be issues

  of fact (e.g., whether there is a special relationship or an independent duty) that might

  preclude application of some states’ economic loss rules at this stage. Opp. 83.

  Plaintiffs only identify a handful of states even having such exceptions in their

  Appendix, leaving most of the economic loss rule states listed in Defendants’

  original chart unchallenged. See Charts 32–34. Even for states with exceptions to the

  economic loss rule, the mere possibility of an exception does not preclude dismissal

  at the Rule 12 stage. See Reiff v. GAF Materials Corp., No 10-1142, 2010 WL

  3081789, at *3 (E.D. Pa. Aug. 6, 2010). Plaintiffs fail to allege that any of these


                                             33
Case 1:19-md-02875-RMB-SAK       Document 598      Filed 10/16/20   Page 44 of 53 PageID:
                                       12572



  exceptions apply. See, e.g., Winkworth v. Spectrum Brands, Inc., No. 19-1011, 2020

  WL 3574687, at *7 (W.D. Pa. June 30, 2020) (dismissing negligence claims

  pursuant to the economic loss rule despite plaintiffs’ argument that defendant owed

  an independent duty).

        Plaintiffs also contend that “without doubt” they have adequately pleaded

  negligence claims against the Manufacturer Defendants, Opp. 78–80, yet they fail to

  allege that the asserted cGMP violations actually led to the presence of nitrosamines

  in Defendants’ VCDs. Id. 79–80. Their claims thus lack proximate causation.

        Moreover, Plaintiffs’ suggestion that Defendants failed to conduct adequate

  tests ignores the many states that do not recognize such claims.29

        E.     Plaintiffs Fail to Plead Negligence Per Se Claims

        Plaintiffs have conceded that: (1) Plaintiffs fail to allege they are within the

  protected class, as required for many states’ negligence per se claims, Br. 41; Charts

  29;30 and (2) eleven states limit or do not recognize negligence per se claims. Br.

  42–43; Charts 31. Accordingly, those claims should be dismissed.



 29
    See, e.g., Rodman v. Otsuka Am. Pharm., Inc., ---F. Supp. 3d---, 2020 WL 2525032,
  at *7 n.6 (N.D. Cal. May 18, 2020); Baird v. Bayer Healthcare Pharm., Inc., No.
  13-77, 2013 WL 5890253, at *2 (E.D. Ky. Oct. 31, 2013); Skotak v. Tenneco Resins,
  Inc., 953 F.2d 909, 912 n.5 (5th Cir. 1992) (Texas law).
  30
     Rather than showing how Plaintiffs fit within the class contemplated by state
  statutes, Plaintiffs argue consumers are within the class protected by the FDCA.
  Opp. 78 n.37. For reasons stated above, this claim is obviously preempted, and
  Plaintiffs did not allege consumers were a protected class in the Complaints.

                                           34
Case 1:19-md-02875-RMB-SAK        Document 598     Filed 10/16/20    Page 45 of 53 PageID:
                                        12573



        F.     Plaintiffs Fail to Plead Fraud Claims

        Plaintiffs concede that actual knowledge of a statement’s falsity is required to

  state a fraud claim. Opp. 83–84. Although Plaintiffs have claimed that the various

  Manufacturing Defendants failed to conduct adequate testing, keep proper records,

  or otherwise adhere to the law, id. 85–86, Plaintiffs have not alleged Defendants’

  actual knowledge of the contamination.

         The Complaints fail to describe how the Manufacturer Defendants knew their

  valsartan was contaminated and lied about that contamination. Id. 86. Absent

  allegations of knowledge, Plaintiffs’ fraud claims should be dismissed

        G.     The PIMC’s And MMMC’s Failure to Warn Claims Must Be
               Dismissed
        The PIMC and MMMC do not plausibly allege that the Manufacturer

  Defendants knew or should have known about the alleged impurity. See Br. 41–42.

  Plaintiffs inexplicably argue that the “recall” serves as notice, as if Defendants have

  a duty to warn about products no longer sold to consumers. Opp. 90.

        Plaintiffs’ barebones allegations fall short of setting forth a viable claim

  against any Defendant. With respect to Defendant ZHP, the PIMC and MMMC

  contend, in a conclusory manner, that ZHP “failed to evaluate the potential effects

  that changes in the manufacturing process may have on the quality of its API.”

  MMMC ¶ 199. Similarly, with respect to the allegations against Defendants Hetero

  Drugs and Hetero Labs, the PIMC and MMMC allege deviations from cGMP

                                            35
Case 1:19-md-02875-RMB-SAK         Document 598       Filed 10/16/20   Page 46 of 53 PageID:
                                         12574



  standards, but fail to set forth prior knowledge of an alleged contamination.

  MMMC ¶¶ 206–218. The PIMC and MMMC make parallel allegations against

  Defendants Mylan and Aurobindo, setting forth purported inadequate cleaning

  protocols and improper recordkeeping, but fail to set forth the key contention that

  Defendants had knowledge of the existence of the alleged defect, or that the alleged

  defect posed a foreseeable risk of contamination with NDMA or NDEA, that gives

  rise to strict liability and a duty to warn. MMMC ¶¶ 232, 242, 248.31 As to the other

  Manufacturer Defendants, the PIMC and MMMC contain no allegations whatsoever

  pointing to knowledge of any contamination of their VCDs with NDMA or NDEA,

  sufficient to give rise to strict liability and a duty to warn.

         H.     Plaintiffs Do Not Assert a Plausible Design Defect Claim

         The Opposition contends Plaintiffs may allege multiple liability theories. Opp.

  92–93. Defendants do not dispute that, but Plaintiffs fail to identify, any aspect of

  Defendants’ design as defective, nor do they specify any deviation from the “FDA-

  approved” design. See Bell v. Boehringer Ingelheim Pharm., Inc., No. 17-1153, 2018

  WL 928237, at *5 (W.D. Pa. Feb. 15, 2018); Opp. 92–93.




  31
    Plaintiffs’ Opposition also completely ignores that their Strict Liability claims for
  Failure to Warn cannot proceed in states that reject strict liability. See Charts 28.

                                              36
Case 1:19-md-02875-RMB-SAK        Document 598     Filed 10/16/20    Page 47 of 53 PageID:
                                        12575



        I.     Plaintiffs’ Medical Monitoring Claims Fail

        Plaintiffs’ arguments conflate requests for medical monitoring damages with

  independent causes of action. Opp. 97–99. Plaintiffs also misunderstand that their

  failure to allege injury in the MMMC precludes medical monitoring claims in certain

  states. Id. Defendants seek dismissal of medical monitoring claims in states requiring

  physical injury and in states that do not recognize independent medical monitoring

  causes of action regardless of injury. Br. 53–54; Charts 57–60.

        The MMMC excludes individuals who have suffered actual harm, and seeks

  to represent a putative class of individuals with no symptoms, adverse effects, or

  illness, only a vague and indefinite potential for future harm. Most courts that have

  considered the issue have found claims of sub-cellular or genetic “injuries” without

  physical manifestations are not injuries. See, e.g., Ranier v. Union Carbide Corp.,

  402 F.3d. 608, 618–22 (6th Cir. 2005); In re Berg Litig., 293 F.3d 1127, 1132–33

  (9th Cir. 2002). Numerous cases cited in Defendants’ medical monitoring charts

  recognize the injury distinction as dispositive. Charts 58–59.32 Accordingly,

  Defendants request that this court dismiss all medical monitoring claims from the

  thirty-four states that either require a physical injury for a medical monitoring claim




  32
    Plaintiffs’ reliance on Hardwick v. 3M Co. is misplaced. Opp. 99. There the court
  only determined whether plaintiffs had adequately requested medical monitoring as
  relief, not whether plaintiffs could plead such relief as a cause of action.

                                            37
Case 1:19-md-02875-RMB-SAK        Document 598     Filed 10/16/20    Page 48 of 53 PageID:
                                        12576



  or only recognize medical monitoring in the form of damages and not an independent

  cause of action. Charts 57–58, 60.

        J.     Plaintiffs Fail to Plead Derivative Claims or Punitive Damages

        The Opposition concedes that the PIMC’s wrongful death, survival, and loss

  of consortium claims are derivative claims that cannot survive if the underlying

  claims do not. Opp. 94. Accordingly, to the extent the PIMC’s underlying claims do

  not survive dismissal, the derivative claims also cannot. As to punitive damages,

  Plaintiffs assert this Court should not decide the availability of punitive damages on

  a motion to dismiss, citing Jones. Opp. 94. In Jones, however, plaintiffs did not

  attempt to set out a separate count for punitive damages, as Plaintiffs have done here.

  Jones v. Francis, No. 13-4562, 2013 WL 5603848, at *1 (D.N.J. Oct. 11, 2013).

  That count should be dismissed.

  V.    THE COMPLAINTS FAIL TO STATE ANY CLAIMS FOR RELIEF
        AGAINST FDA LIAISONS

        The Opposition fails to address the limited statutory responsibilities of FDA

  Liaison Defendants under 21 C.F.R. § 207.69(b). It also fails to identify any legal

  precedent holding an FDA liaison liable for a foreign establishment’s product.

  Br. 58–59. Thus, FDA Liaisons’ request for relief is proper.

        Plaintiffs claim they have pleaded what each Defendant “did, and when, how,

  and why they did it.” Opp. at 3. That is inaccurate. The Complaints (and Plaintiffs’

  Opposition) make only blanket assertions regarding FDA Liaison Defendants.

                                            38
Case 1:19-md-02875-RMB-SAK        Document 598     Filed 10/16/20    Page 49 of 53 PageID:
                                        12577



  Opp. 104–105. Plaintiffs lump the liaisons in with their corporate affiliates without

  spelling out their specific conduct, let alone describing how the liaisons designed,

  manufactured, or distributed valsartan. See, e.g., ELMC ¶¶ 13, 24, 33, 51, 60, 69;

  PIMC ¶¶ 37, 61-64, 81, 177, 362-365; MMMC ¶¶ 4, 23, 25. 32, 103, 104, 339–342.33

        To the extent Plaintiffs purport to allege specific conduct, Opp. 104, bald

  assertions in the Complaints as to the FDA Liaisons being involved with the VCDs

  without factual allegations in support and misrepresentation of materials outside the

  pleadings34 do not make the assertions entitled to the assumption of truth. Santiago

  v. Warminster Tp., 629 F.3d 121, 131 (3d Cir. 2010) (quoting Ashcroft v. Iqbal, 556

  U.S. 662, 680 (2009)). The importance and viability of the FDA Liaisons’ motion

  should not be lost in the myriad of issues and pages in this omnibus briefing. Critical

  review makes clear that dismissal is warranted as to Prinston, Hetero USA, and

  APUSA as set forth in the moving brief.




  33
     Vertical integration alone does not impute liability on FDA Liaisons. Plaintiffs are
  required to plead facts that demonstrate the manufacturing parent corporation
  demonstrated intrusive control over the subsidiary. See In re Chocolate
  Confectionary Antitrust Litig., 674 F. Supp. 2d 580, 598 (M.D. Pa. 2009). No such
  facts have been pled.
  34
     Plaintiffs’ Opposition and the Complaints also misrepresent and impermissibly
  rely upon materials outside the pleadings. See, e.g., Opp. 104 (incorrectly claiming
  that the FDA ARB recall website cited in the Complaints references Hetero USA
  when the citations in the Complaints are to recall announcements identifying HLL
  and Camber without any mention of Hetero USA).

                                            39
Case 1:19-md-02875-RMB-SAK       Document 598      Filed 10/16/20   Page 50 of 53 PageID:
                                       12578



                                    CONCLUSION

        The Manufacturer Defendants’ Motion to Dismiss affords this Court the

  opportunity to simplify these proceedings greatly by eliminating facially insufficient

  and legally invalid claims. Plaintiffs can offer this Court no plausible explanation

  why it should entertain claims from Plaintiffs who lack a concrete injury-in-fact, or

  why it should force Defendants to defend claims in which they are not alleged to

  have committed any wrongs against any Plaintiff, or why it should permit claims to

  move forward that either cannot satisfy the requisite elements of their governing

  states’ laws or are denied legal recognition outright. Eliminating improper parties

  and deficient claims promotes justice and efficiency by narrowing the scope of this

  MDL and reducing the needless costs and burdens associated with discovery and

  fact-finding on claims that cannot succeed. For these reasons, the Court should grant

  the Motion to Dismiss.




                                           40
Case 1:19-md-02875-RMB-SAK   Document 598     Filed 10/16/20   Page 51 of 53 PageID:
                                   12579



  Dated: October 16, 2020
                                            Respectfully submitted,


                                            By: /s/ Seth A. Goldberg
                                              Seth A. Goldberg, Esq.
                                                Lead Counsel and Liaison
                                                Counsel for Defendants

                                              DUANE MORRIS LLP

                                              Seth A. Goldberg, Lead Counsel
                                              and Liaison Counsel for
                                              Defendants
                                              Barbara A. Schwartz
                                              Coleen W. Hill (DE #6287)
                                              Nathan B. Reeder
                                              30 South 17th Street
                                              Philadelphia, Pennsylvania 19103
                                              Tel.: (215) 979-1000
                                              Fax: (215) 979-1020
                                              SAGoldberg@duanemorris.com
                                              BASchwartz@duanemorris.com
                                              NBReeder@duanemorris.com

                                                  Attorneys for Zhejiang Huahai
                                                  Pharmaceutical Co, Ltd.,
                                                  Huahai U.S., Inc., Prinston
                                                  Pharmaceutical Inc., and Solco
                                                  Healthcare US, LLC

                                              PIETRAGALLO GORDON
                                              ALFANO BOSICK & RASPANTI,
                                              LLP

                                              Clem C. Trischler, Lead Counsel
                                              for Defendants
                                              Jason M. Reefer
                                              38th Floor, One Oxford Centre
                                              Pittsburgh, Pennsylvania 15219

                                     41
Case 1:19-md-02875-RMB-SAK   Document 598   Filed 10/16/20   Page 52 of 53 PageID:
                                   12580



                                            Tel: (412) 263-2000
                                            Fax: (412) 263-2001
                                            CCT@PIETRAGALLO.com

                                               Attorneys for Mylan
                                               Laboratories,
                                               Ltd. and Mylan
                                               Pharmaceuticals, Inc.

                                            GREENBERG TRAURIG

                                            Lori G. Cohen, Lead Counsel for
                                            Defendants
                                            Victoria D. Lockard
                                            Steven M. Harkins
                                            Terminus 200
                                            3333 Piedmont Rd., NE,
                                            Suite 2500
                                            Atlanta, Georgia 30305
                                            Tel: (678) 553-2385
                                            Fax: (678) 553-2386
                                            cohenl@gtlaw.com
                                            lockardv@gtlaw.com
                                            harkinss@gtlaw.com

                                            Gregory E. Ostfeld
                                            77 West Wacker Drive,
                                            Suite 3100
                                            Chicago, Illinois 60601
                                            Tel: (312) 476-5056
                                            ostfeldg@gtlaw.com

                                            Brian H. Rubenstein
                                            1717 Arch Street
                                            Suite 400
                                            Philadelphia, Pennsylvania
                                            Tel: (215) 988-7864




                                     42
Case 1:19-md-02875-RMB-SAK   Document 598   Filed 10/16/20   Page 53 of 53 PageID:
                                   12581



                                            Fax: (214) 689-4419
                                            rubensteinb@gtlaw.com

                                               Attorneys for Teva
                                               Pharmaceuticals USA, Inc.,
                                               Teva Pharmaceutical Industries
                                               Ltd., Actavis LLC, and Actavis
                                               Pharma, Inc.




                                     43
